          Case 3:20-mc-01041-YY         Document 5       Filed 11/05/20     Page 1 of 2




                            UNITED STATES DISTRICT COURT

                                     DISTRICT OF OREGON

                                     PORTLAND DIVISION



In re

ROMAN CATHOLIC ARCHBISHOP OF
PORTLAND IN OREGON, and successors,                           Case No. 3:20-mc-01041-YY
a corporation sole, dba Archdiocese of
Portland in Oregon                                            OPINION AND ORDER
Interested Parties/Claimants: D.S.


YOU Magistrate Judge:

        On October 8, 2020, the Roman Catholic Archbishop of Portland in Oregon, and

successors, a corporation sole, dba Archdiocese of Portland in Oregon filed a motion asking this

court to approve a settlement with D.S. in the amount of $350,000 from the Future Claims Trust.

ECF #3. Pursuant to Section 6.4.5 of the “Third Amended and Restated Joint Plan of

Reorganization of Debtor, Tort Claimants Committee, Future Claimants Representative, and

Parish and Parishioners Committee (dated April 9, 2007)” [Docket No. 5005 in In re Roman

Catholic Archbishop of Portland in Oregon, and successors, a corporation sole, dba Archdiocese

of Portland in Oregon, D. Or. Bankr. Case No. 04-37154] (“the Plan”), any settlement is “subject

to approval of the District Court in accordance with the procedures set forth in Section 11.8 of

the Plan.”




1 – OPINION AND ORDER
            Case 3:20-mc-01041-YY          Document 5       Filed 11/05/20      Page 2 of 2




       Here, a mediation was held on September 22, 2020, and settlement negotiations continued

until an agreement was made to settle D.S.’s claim for $350,000 from the Future Claims Trust.

As required by Section11.8 of the Plan, notice of at least 20 days (plus three days if served by

mail) was provided at the same time the motion was filed. The notice period expired on

November 2, 20200, and no objections have been filed. Counsel for D.S. do not oppose this

motion.

          In the absence of objection by any interested party, and in consideration of the size of the

 proposed payment at issue relative to the amount remaining in the Future Claims Trust, the court

 finds no reason exists to deny approval of the parties’ proposed settlement.

                                           CONCLUSION

       For the reasons set forth above, the motion (ECF #3) to approve the settlement with D.S in

the amount of $350,000 from the Future Claims Trust is GRANTED.

          IT IS SO ORDERED.

          DATED this 5th day of November 2020.



                                                        /s/ Youlee Yim You
                                                        Youlee Yim You
                                                        United States Magistrate Judge




 3 – OPINION AND ORDER
